LTD (12/1/10) jd                           UNITED STATES BANKRUPTCY COURT
                                                    District of Oregon
In re                                                   ) Case No. 11−31792−rld13
 Gerald G. Monckton Jr                                  )
 Agustina L. Monckton                                   ) Filing Date: 3/8/11
Debtor(s)                                               ) CHAPTER 13 INITIAL LETTER TO DEBTOR




                                       IMPORTANT − Debtor(s) please read carefully:


Your petition under Chapter 13 of the Bankruptcy Code was filed on the above date. A notice setting the time and place of a
meeting of creditors should also be in this envelope. [All of your property is now under the exclusive jurisdiction of the United
States Bankruptcy Court. It is your duty to preserve it and to account for it to your trustee at that meeting.] You must attend and
complete the meeting or the case may be dismissed. (Important Notes: (1) This meeting is not held at the Court; and (2) you
must bring a photo ID and proof of social security number to the meeting! For details see Explanation page of Notice of Meeting
of Creditors.)
If the notice of your meeting of creditors is not in the same envelope as this letter, contact your attorney immediately for the
meeting date, time and location!
You must keep the Court, trustee, and your attorney advised, in writing, of any change in your mailing address until your case
has been closed! Until you have done so, all notices and orders will be mailed to the original address you gave us. Your failure
to respond to notices or orders could result in dismissal, conversion of your case to a straight liquidation (Chapter 7), or other
serious consequences.
PAYMENT ADVICES OR OTHER EVIDENCE OF EARNINGS. Do not file these documents with the Court! Within 14 days
following the filing of your bankruptcy petition you must provide to the Chapter 13 Trustee at the address below, copies of all
payment advices or other evidence of payment received within 60 days before the date of the filing of the bankruptcy petition
from any employer.
TAX RETURNS TO CHAPTER 13 TRUSTEE. Within 7 days before the first date set for the meeting of creditors, you must
provide to the Chapter 13 Trustee, at the address listed below, a copy of your most recently filed federal income tax return (or a
transcript of such return). You must also provide a copy of your most recently filed state income tax return (or a transcript of
such return) to the Chapter 13 Trustee at the meeting of creditors. Do not file a copy with the Court!

THE TRUSTEE appointed in your case is: Wayne Godare, 1300 SW 5th #1700, Portland OR, 97201, (503) 972−6300.

EDUCATION REQUIREMENT. You will not receive a discharge unless you complete an instructional course concerning
personal financial management provided by an agency approved by the United States Trustee. You may obtain a list of
authorized agencies at the Court's web site: www.orb.uscourts.gov. You should file with the Court a Certificate of Completion of
the Instruction Course no later than 60 days after the first date set for your meeting of creditors.

                                                    ***** PLEASE NOTE *****

This case may be dismissed without further notice if either: (1) you fail to attend and complete the meeting of creditors; (2) all
plan payments are not current at confirmation; (3) any document is not timely given to the trustee or filed; or (4) any filing fee
installment is not fully paid on time. Do not send cash or personal checks when making plan payments. Be sure to write your
name and case number on all money orders and cashiers checks!!!

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                              IMPORTANT − SEE OTHER SIDE FOR FURTHER INFORMATION!




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Please read carefully:




1. You must immediately notify the trustee if you become unemployed or change jobs.

2. You must not incur any further credit, purchase anything on time, or borrow any money without a Court order or the trustee's
   written permission.

3. You are not to dispose of any of your property or allow a secured or other creditor to take or repossess property without the
   written authority of this Court.

4. If for any reason you cannot make your plan payments when due, you should notify your attorney and the trustee
   immediately; otherwise, the trustee will definitely move to dismiss or convert your case.

5. The Court mails notice of a meeting of creditors to each creditor listed with a complete address (including city, state and zip
   code; or city and foreign country). If any creditor's address is incorrect, the notice might be returned to you and those debts
   may not be discharged. You will also receive a separate list of all creditors whose notices were not mailed due to an
   incomplete address. If you find a correct address or zip code you should mail a copy of that notice (or a copy of any other
   notice returned to you) to the creditor, and also complete and file Local Form #101. If it was the Court's mistake, you must
   notify us in writing immediately. To add or delete creditors, however, you must use Local Form #728.


                                    *** SEE OTHER SIDE FOR MORE INFORMATION ***
Dated: 3/8/11




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